IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
v.

ALFONSO VELO,
[DOB: 08/05/1964]

RICARDO NEVAREZ,
[DOB: 04/17/1982]

SHAWN HAMPTON,
a/k/a “Smoke”
[DOB: 06/28/1975]

BRICE C. HALE,
[DOB: 01/11/1973]

DELBERT ROBERSON,
a/k/a “Del”
[DOB: 02/16/1979]

NARICCO T. SCOTT,
a/k/a “Rico”
[DOB: 01/05/1982]

CALAH D. JOHNSON,
a/k/a “Green Eyes”
[DOB: 03/14/1981]

JOHN L. HOOKER,
a/k/a “Ace”
[DOB: 05/31/1988]

RAY A. JOHNSON,
[DOB: 12/28/1978]

JASON R. CARTER,
a/k/a “J-Roc”
[DOB: 09/21/1986]

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COUNT ONE: All Defendants

21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)
NLT 10 Years, NMT Life Imprisonment

NMT $4,000,000 Fine

NLT 5 Years Supervised Release

Class A Felony

COUNTS TWO, THREE and FOUR: Roberson
21 U.S.C. §§ 841(a)(1) and (b)(1)(B)

NLT 5 Years, NMT 40 Years Imprisonment

NMT $2,000,000 Fine

NLT 4 Years Supervised Release

Class B Felony

COUNTS FIVE, EIGHT, ELEVEN and
FIFTEEN: Hampton

21 U.S.C. §§ 841(a)(1) and (b)(1)(B)

NLT 5 Years, NMT 40 Years Imprisonment
NMT $2,000,000 Fine

NLT 4 Years Supervised Release

Class B Felony

COUNTS SIX and SEVEN: White
21 U.S.C. §§ 841(a)(1) and (b)(1)(C)
NMT 20 Years Imprisonment

NMT $1,000,000 Fine

NLT 3 Years Supervised Release
Class C Felony

COUNTS NINE and TEN: Scott

21 U.S.C. §§ 841(a)(1) and (b)(1)(C)
NMT 20 Years Imprisonment

NMT $1,000,000 Fine

NLT 3 Years Supervised Release
Class C Felony

 
JUSTIN J. CAMPBELL,
a/k/a “Shaw”
[DOB: 10/26/1976]

ANTAR H. ROBERTS,
a/k/a “Saw”
[DOB: 08/02/1973]

GREGORY P. YOUNG,
a/k/a “Chan”
[DOB: 12/31/1972]

RONNELL A. BROWN,
[DOB: 09/17/1971]

MYLIN D. SMITH,
a/k/a “G”
(DOB: 07/12/1983]

THEODORE 8S. WIGGINS,
a/k/a “Theo”
[DOB: 12/23/1980]

ANDREYA JONES,
alk/a “Pig”
[DOB: 05/18/1982]

STERLING BYNDOM,
[DOB: 09/30/1985]

MARCUS L. GAY,
[DOB: 10/25/1973]

KEIYATIE R. WHITE,
[DOB: 08/01/1981]

DOROTHEA L. CAIN,
alk/a “Dea”
[DOB: 07/03/1971]

ADRIAN U. BARRETT,
[DOB: 02/07/1976]

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COUNT TWELVE: C. D. Johnson
18 U.S.C. §§ 922(g)(1) and 924(a)(2)
NMT 10 Years Imprisonment

NMT $250,000 Fine

NMT 3 Years Supervised Release
Class C Felony

COUNT THIRTEEN: Wiggins

21 U.S.C. §§ 841(a)(1) and (b)(1)(C)
NMT 20 Years Imprisonment

NMT $1,000,000 Fine

NLT 3 Years Supervised Release
Class C Felony

COUNT FOURTEEN: Carter

21 U.S.C. §§ 841(a)(1) and (by1)(C)
NMT 20 Years Imprisonment

NMT $1,000,000 Fine

NLT 3 Years Supervised Release
Class C Felony

COUNT SIXTEEN: Scott

21 U.S.C. §§ 841(a)(1) and (b)(1)(A)
NLT 10 Years, NMT Life Imprisonment
NMT $4,000,000 Fine

NLT 5 Years Supervised Release

Class A Felony

COUNT SEVENTEEN: Scott
18 U.S.C. § 924(c)(1)(A)

NLT 5 Years Imprisonment

NMT Life Imprisonment

NMT $250,000 Fine

NLT 5 Years Supervised Release
Class A Felony

$100 Special Assessment for Counts One
through Seventeen

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ALEJANDRO HOLGUIN-BONILLA,
a/k/a “Alex”
[DOB: 10/29/1987]

Defendants.
Velo - |
Nevarez - |
Hampton - 1, 5, 8, 11, 15
Hale - 1

Roberson - 1, 2, 3, 4
Scott - 1, 9, 10, 16, 17
C. D. Johnson - 1, 12
Hooker - 1

R. A. Johnson - |
Carter - 1, 14
Campbell - 1
Roberts - 1

Young - |

Brown - |

Smith - |

Wiggins - 1, 13
Jones - 1

Byndom - 1

Gay -1

White - 1, 6, 7

Cain - 1

Barrett - 1
Holguin-Bonilla - 1

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SUPERCEDING IN DIC TMENT
THE GRAND JURY CHARGES THAT:

COUNT ONE
That between July 1, 2009, and the date of this Indictment, said dates being approximate,
in the Western District of Missouri and elsewhere, ALFONSO VELO, RICARDO NEVAREZ,
SHAWN HAMPTON, a/k/a “SMOKE”, BRICE C. HALE, DELBERT ROBERSON, a/k/a
“Del”, NARICCO T. SCOTT, a/k/a “Rico”, CALAH D. JOHNSON, a/k/a “Green Eyes”, JOHN

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L. HOOKER, a/k/a “Ace”, RAY A. JOHNSON, JASON R.CARTER, a/k/a “J-Roc”, JUSTIN J.
CAMPBELL, a/k/a “Shaw”, ANTAR H. ROBERTS, a/k/a “Saw”, GREGORY P. YOUNG, a/k/a
“Chan”, RONNELL A. BROWN, MYLIN D. SMITH, a/k/a “G”, THEODORE S. WIGGINS,
a/k/a “Theo”, ANDREYA JONES, a/k/a “Pig”, STERLING BYNDOM, MARCUS L. GAY,
KETYATIE R. WHITE, DOROTHEA L. CAIN, a/k/a “Dea”, ADRIAN U. BARRETT, and
ALEJANDRO HOLGUIN-BONILLA, a/k/a “Alex”, defendants herein, did knowingly and
intentionally combine, conspire, confederate, and agree with each other and others, both known
and unknown to the Grand Jury, to distribute: 1) a mixture or substance containing cocaine, a
Schedule II controlled substance, in an amount of five (5) kilograms or more; and, 2) a mixture
or substance containing cocaine base (“crack” cocaine), a Schedule II controlled substance, in an
amount of fifty (50) grams or more, in violation of Title 21, United States Code, Sections
841(a)(1), (b)(1)(A) and Title 21, United States Code, Section 846.
COUNT TWO

On or about August 21, 2009, in Kansas City, Missouri, within the Western District of
Missouri, DELBERT ROBERSON, a/k/a “Del”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base

“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1}(B).
COUNT THREE

On or about August 25, 2009, in Kansas City, Missouri, within the Western District of
Missouri, DELBERT ROBERSON, a/k/a “Del”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base
(“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(B).

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COUNT FOUR

On or about August 28, 2009, in Kansas City, Missouri, within the Western District of
Missouri, DELBERT ROBERSON, a/k/a “Del”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base
(“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841 (a)(1) and (b)(1)(B).

COUNT FIVE

On or about October 27, 2009, in Kansas City, Missouri, within the Western District of
Missouri, SHAWN HAMPTON, a/k/a “Smoke”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base
“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(B).

COUNT SIX

On or about November 10, 2009, in Kansas City, Missouri, within the Western District of
Missouri, KETYATIE R. WHITE, defendant herein, did knowingly and intentionally distribute
some quantity of a mixture or substance containing cocaine base (“crack” cocaine), a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)(1)(C).

COUNT SEVEN

On or about November 11, 2009, in Kansas City, Missouri, within the Western District of
Missouri, KETYATIE R. WHITE, defendant herein, did knowingly and intentionally distribute
some quantity of a mixture or substance containing cocaine base (“crack” cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)CL\(C).

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COUNT EIGHT

On or about November 12, 2009, in Kansas City, Missouri, within the Western District of
Missouri, SHAWN HAMPTON, a/k/a “Smoke”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base

“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b){1)(B).
COUNT NINE

On or about November 12, 2009, in Kansas City, Missouri, within the Western District of
Missouri, NARICCO SCOTT, a/k/a “Rico”, defendant herein, did knowingly and intentionally
distribute some quantity of a mixture or substance containing cocaine base (“crack” cocaine), a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1}(C).

COUNT TEN

On or about November 19, 2009, in Kansas City, Missouri, within the Western District of
Missouri, NARICCO SCOTT, a/k/a “Rico”, defendant herein, did knowingly and intentionally
distribute some quantity of a mixture or substance containing cocaine base (“crack” cocaine), a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1)(C).

COUNT ELEVEN

On or about December 3, 2009, in Kansas City, Missouri, within the Western District of
Missouri, SHAWN HAMPTON, a/k/a “Smoke”, defendant herein, did knowingly and
intentionally distribute five (5) grams or more of a mixture or substance containing cocaine base
(“crack” cocaine), a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(B).

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COUNT TWELVE

On or about March 7, 2010, in the Western District of Missouri, CALAH D. JOHNSON,
a/k/a “Green Eyes”, defendant herein, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly possess, in and affecting commerce,
a firearm, to wit, a Glock, Model 23, .40 caliber pistol, with serial number FDU846, which had
been transported in interstate commerce, in violation of Title 18, United States Code,
Sections 922(g¢)(1) and 924(a)(2).

COUNT THIRTEEN

On or about April 15, 2010, in Kansas City, Missouri, within the Western District of
Missouri, THEODORE 8. WIGGINS, a/k/a “Theo”, defendant herein, did knowingly and
intentionally distribute some quantity of a mixture or substance containing cocaine base (“crack”
cocaine), a Schedule II controlled substance, in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(C).

COUNT FOURTEEN

On or about April 21, 2010, in Kansas City, Missouri, within the Western District of
Missouri, JASON R. CARTER, a/k/a “J-Roc”, defendant herein, did knowingly and intentionally
distribute some quantity of a mixture or substance containing cocaine base (“crack” cocaine), a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1}(C).

COUNT FIFTEEN

On or about April 28, 2010, in Kansas City, Missouri, within the Western District of

Missouri, SHAWN HAMPTON, a/k/a “Smoke”, defendant herein, did knowingly and

intentionally distribute five hundred (500) grams or more of a mixture or substance containing

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cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(B).
COUNT SIXTEEN

On or about May 9, 2010, in Kansas City, Missouri, within the Western District of
Missouri, NARICCO T. SCOTT, a/k/a “Rico”, defendant herein, did knowingly and intentionally
possess with the intent to distribute a mixture or substance containing cocaine base (“crack”
cocaine), a Schedule II Controlled Substance, in an amount of fifty grams or more, in violation of
Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).

COUNT SEVENTEEN

That on or about May 9, 2010, in Kansas City, Missouri, within the Western District of
Missouri, NARICCO T. SCOTT, a/k/a “Rico”, defendant herein, in furtherance of the drug-
trafficking crimes alleged in Count One and Count Sixteen, did knowingly and intentionally
possess a firearm, in violation of Title 18, United States Code, Section 924(c)(1)(A).

A TRUE BILL.

   

 

Dated: kK |p. hho

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Brent Venneman #17316
Assistant United States Attorney

 

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